                   UNITED STATES COURT OF APPEALS
                                                                    FILED
                          FOR THE NINTH CIRCUIT
                                                                    OCT 24 2014
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




FREDILITO TUMBAGA; et al.,                   No. 12-35852

            Plaintiffs - Appellants,
                                             D.C. No. 3:06-cv-00247-SLG
 v.                                          U.S. District Court for Alaska,
                                             Anchorage
UNITED STATES OF AMERICA,
                                             MANDATE
            Defendant - Appellee.


      The judgment of this Court, entered August 29, 2014, takes effect this date.

      This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                               FOR THE COURT:
                                               Molly C. Dwyer
                                               Clerk of Court

                                               Rhonda Roberts
                                               Deputy Clerk




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